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    5                  IN THE UNITED STATES BANKRUPTCY COURT
    6                          FOR THE DISTRICT OF ARIZONA
    7
        In re                                     Chapter 7
    8
        SKYLER AARON COOK,                        Case No. 2:20-bk-01730-EPB
    9

   10                       Debtor.               Adversary No. 2:21-ap-00336-EPB

   11 JAMES E. CROSS, TRUSTEE,

   12
                            Plaintiff,
   13 vs.                                           ORDER GRANTING JOINT MOTION
   14 VALLIANCE BANK, SHELBY                        FOR AMENDMENT TO CASE
                                                    MANAGEMENT ORDER
   15 BRUHN, and KATHERINE S. BRUHN,

   16                       Defendants.
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   19           This Stipulated Amendment to Case Management Order has been submitted by
   20 Plaintiff James E. Cross, in his capacity as Chapter 7 Trustee (“Plaintiff”) and by

   21 Defendants Valliance Bank, Shelby Bruhn, and Katherine S. Bruhn (collectively, the

   22 “Defendants”, and with Plaintiff the “Parties”) amending the prior Case Management

   23 Order (Dkt. 81) (“First Case Management Order”).

   24           THE CASE MANAGEMENT ORDER IS HEREBY AMENDED AS
   25 FOLLOWS:

   26           1.    Fact Discovery. Fact discovery, including depositions and discovery by
   27                 subpoena, shall be completed by September 29, 2023.
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    1              2.       Expert Disclosures and Discovery.
    2                       a.       The Parties shall amend any prior disclosed anticipated expert
    3                                testimony within seven (7) days of the filing of the Third Amended
    4                                Complaint1.
    5                       b.       Plaintiff’s expert disclosures shall be due on or before October 31,
    6                                2023.
    7                       c.       Defendant’s expert disclosures shall be due on or before December
    8                                1, 2023.
    9                       d.       The Parties shall disclose rebuttal experts on or before January 29,
   10                                2024.
   11                       e.       The Parties shall conclude expert depositions on or before April 1,
   12                                2024.
   13              3.       Dispositive Motions: The Parties shall file dispositive motions on or before
   14                       April 30, 2024.
   15              4.       Third Amended Complaint:
   16                       a.       Defendants shall file their Motion to Dismiss within twenty-one
   17                                (21) days of the filing of the Third Amended Complaint.
   18                       b.       Plaintiff shall file their response within twenty-one (21) days of
   19                                Defendant’s filing of any Motion to Dismiss.
   20                       c.       Defendants shall file their reply to Plaintiff’s response within
   21                                fourteen (14) days of Plaintiff’s filing of their response to
   22                                Defendant’s Motion to Dismiss.
   23              5.       All other deadlines or obligations of the Parties not amended by this Order
   24 shall remain as stated in the First Case Management Order.

   25 IT IS SO ORDERED.

   26 DATED AND SIGNED ABOVE.

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            The Parties appeared before the Court on July 11, 2023 for hearing on the Plaintiff’s Motion for Leave to filed the
   28 Third Amended Complaint at which time the Court indicated it would grant Plaintiff’s Motion.

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